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 Fill in this information to identify the case:
 Debtor name Frank Theatres Management, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                     Check if this is an
                                                FLORIDA
 Case number (if known):         18-20022                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Broward County Tax                                             For Information                                                                                            Unknown
 Collector                                                      Purposes
 PO Box 29009
 Fort Lauderdale, FL
 33302-9009
 Florida Department                                             For Information                                                                                            Unknown
 of Revenue                                                     Purposes
 P.O. Box 6668
 Tallahassee, FL
 32314-6668
 Internal Revenue                                               For Information                                                                                            Unknown
 Service                                                        Purposes
 P.O. Box 7346
 Philadelphia, PA
 19114
 Internal Revenue                                               For Information                                                                                            Unknown
 Service                                                        Purposes
 Attn: Special
 Procedures
 P.O. Box 34045
 Stop 572
 Jacksonville, FL
 32202
 Las Olas Riverfront,                                           17th Judicial    Disputed                                                                                 $55,000.00
 LP                                                             Circuit, Broward
 2434 East Las Olas                                             County
 Blvd                                                           Case No.
 Fort Lauderdale, FL                                            CACE-13-25993(08
 33301                                                          )
 Office of Attorney                                             For Information                                                                                            Unknown
 General                                                        Purposes
 State of Florida
 The Capitol PL-01
 Tallahassee, FL
 32399-1050




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 Debtor    Frank Theatres Management, LLC                                                                     Case number (if known)         18-20022
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Palm Beach County                                              For Information                                                                                            Unknown
 Tax Collector                                                  Purposes
 PO Box 3353
 West Palm Beach,
 FL 33402-3353
 SEC Headquarters                                               For Information                                                                                            Unknown
 100 F Street, NE                                               Purposes
 Washington, DC
 20549
 Securities and                                                 For Information                                                                                            Unknown
 Exchange                                                       Purposes
 Commission
 801 Brickell Ave.,
 Suite 1800
 Miami, FL 33131
 United States                                                  For Information                                                                                            Unknown
 Attorney General's                                             Purposes
 Office
 US Department of
 Justice
 950 Pennsylvania
 Avenue
 Washington, DC
 20530-0001
 US Attorney                                                    For Information                                                                                            Unknown
 Southern District of                                           Purposes
 Florida
 500 South
 Australian Avenue
 Suite 400
 West Palm Beach,
 FL 33401




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